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                  EXHIBIT 2
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A PLACE OF POSSIBILITY



A Vision for the Barack Obama
Presidential Library
on the South Side of Chicago
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A PLACE OF POSSIBILITY



A Vision for the Barack Obama
Presidential Library
on the South Side of Chicago
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“ The Obama Presidential Library would inspire all people
  that the impossible is possible. More than any other
  area in the world, the South Side of Chicago proves that
  to be true, with its many first-time victories in politics,
  economics, social sciences, blues, and gospel.”

 TIMUEL BLACK, Historian
                                                                Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 5 of 67 PageID #:2375
TA B L E O F C O N T E N T S




   2       INTRODUCTION


           A Place of Possibility

  4        CHAPTER ONE
           CHICAGO AND THE SOUTH SIDE


           Fulﬁlling the Possibility of Place

 16        CHAPTER TWO
           TH E U N IVE RSIT Y OF CH ICAGO AN D PARTN E RS


           Delivering Possibility

 40        CHAPTER THREE
           SITE PROPOSALS


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100        CHAPTER FOUR
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           Measuring Possibility

110        CHAPTER FIVE
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           An Urban Inspiration

113        Letter from the President of the University of Chicago: Robert J. Zimmer




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117        Letter from leadership in support of the Barack Obama Presidential Library:
           James S. Crown, John W. Rogers, Jr., and David M. Rubenstein
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INTRODUCTION




A Place of Possibility
To establish the Barack Obama Presidential Library on            The Library will not only spread hope and opportunity
the South Side of Chicago is to position the Library for         through its programs. As an integral part of the South
impact—impact on communities, impact on the role of a            Side, it will directly create economic opportunity through
presidential library, and impact on the world.                   its construction and operations, and the visitors and new
                                                                 businesses it attracts. The University will work together
This will be a historic library for a historic president. If     with the City and surrounding communities to maximize
located in the heart of Chicago’s South Side, it will be         this impact. The South Side will be forever transformed by
the first truly urban presidential library, and as such can      the Library and all that it enables.
be woven into the communities that surround it. It will
create opportunities for collaborative programming on            The arrival of the Barack Obama Presidential Library on
the issues that President and Mrs. Obama have devoted            the South Side of Chicago will represent the presidential
their energies to over the years: improving education,           family’s homecoming. President and Mrs. Obama met in
creating opportunities for young people, improving               Chicago, and their work on the South Side guided them
health and nutrition, and modeling the best practices in         from local advocacy to the White House.
environmental sustainability. It will serve as a source of
inspiration to young people everywhere, sending a message        The Barack Obama Presidential Library is brought to life
that every child and every community deserves to dream           in the pages of this book through the vision of innovative
big dreams, to set high ambitions, and to thrive.                architects, the energy of potential partners, and the voices
                                                                 of community members. Together they reinforce the
The impact of the Barack Obama Presidential Library will         University of Chicago’s enthusiastic belief that the Barack
be intensely local but also global in reach. The challenges      Obama Presidential Library in the heart of the South Side
it tackles through its programs and partnerships will            of Chicago will be a place of tremendous possibility and a
be relevant to the needs and challenges of cities around         lasting legacy.
the world. The Library and the post-presidency work of
President and Mrs. Obama will be of great interest to
leaders and people in other countries, even as the President
and First Lady have served as a model and inspiration
around the world for their leadership. And the Library will
both benefit from and enhance the global relationships
cultivated by the City of Chicago, the University of
Chicago, and other partners.
                                                                                                                                                                Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 7 of 67 PageID #:2377




2          The Barack Obama Presidential Library: Introduction                                                                  The University of Chicago   3
            CHAPTER ONE
            CHICAGO AND THE SOUTH SIDE




            Fulﬁlling the
            Possibility of Place
            Chicago is a bold city, grounded in strong values—
            of self-reliance, of opportunity, of hard work. It draws
            together people who share those values and seek to
            shape a better future.

            For civil rights activist and Chicago educator Timuel Black,
            who moved to the city with his family in 1919, Chicago
            provided a chance to make an impact. For his parents,
            former sharecroppers descended from slaves, Chicago
            was a place that could provide work, education, and
            something more—as Black puts it, Chicago was where
            “they came to talk back and ﬁght back.”

            Today, Chicago continues to reimagine itself with new
            centers of innovation and entrepreneurship, job and
            education programs for city youth, inventive architecture,
            arts districts, and urban farms. The Barack Obama
            Presidential Library in the heart of Chicago’s South Side
            would be a critical part of this transformation.




View from the South Side
of Chicago to downtown
                                                                                                              Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 8 of 67 PageID #:2378




4         The Barack Obama Presidential Library: Chicago and the South Side   The University of Chicago   5
                                                                                                                                                                                                                    IN CHICAGO




                                                                                                                                                                                                                    48 million
                                                                                                                                                                                                                    visitors per year


                                                                                                                                                                                                                    3,100
                                                                                                                                                                                                                    ﬂights per day to
                                                                                                                                                                                                                    and from O’Hare
                                                                                                                                                                                                                    and Midway airports


                                                                                                                                                                                                                    27,100
                                                                                                                                                                         Left: Performance at the Chinese Fine
                                                                                                                                                                                                                    hotel rooms
                                                                                                                                                                         Arts Society’s 7th Eve Festival (Qi Xi);
                                                                                                                                                                         Right: Kayakers in the Chicago River
                                                                                                                                                                                                                    occupied per day


                                                                                                                                                                                                                    200+
                                                                                                                                                                                                                    theaters

Quintessential American City                                                                                                                                                                                        222
and Urban Innovator                                                                                                                                                                                                 miles of
                                                                                                                                                                                                                    CTA track
Chicago is a frontier town turned global city. Its                discovery, where researchers tackle the challenges of the    cosmopolitan centers. It is an urban innovator,
77 neighborhoods are home to the ambitious, the                   present and pioneer the future of social services, medical   where strong academic, corporate, and philanthropic
entrepreneurial, and the industrious, from all walks              care, and public education.                                  communities come together to advance initiatives across
of life and all parts of the globe. Chicagoans have big                                                                        the city. Chicago contends with some of our nation’s
                                                                                                                                                                                                                    552
ideas, and they dare to see them through. It is a place           A transportation trendsetter, Chicago built the first        great challenges, but it also leads the search for solutions.                        parks
where tireless work led to the splitting of the atom, the         steel railroad in the country in 1865. Today, O’Hare         It is where people unite to seek justice, where leaders
reversal of a river’s course, the renewal of rail yards into      and Midway airports make the city an international           emerge to tackle historic problems.
a treasured public park, and pivotal movements for                hub. People, products, and ideas are also moving along
equality and social change.                                       new networks, whether the city’s world-class data            The Barack Obama Presidential Library would be a
                                                                                                                                                                                                                    97
                                                                  transmission node or its internet-enabled bicycle sharing    powerful emblem of these aspirations. It would be the first                          universities
All of this makes Chicago a fitting location for the              system.                                                      truly urban presidential library, contributing to Chicago’s
Barack Obama Presidential Library. It is a renaissance                                                                         momentum toward becoming a major global city.                                        and colleges
city, where new businesses shape opportunities for the            With sports, art, music, theater, food, and matchless                                                                                             in metro area
next generation of young job seekers. It is a place of            architecture, the city ranks among the world’s
                                                                                                                                                                                                                                        Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 9 of 67 PageID #:2379




6           The Barack Obama Presidential Library: Chicago and the South Side                                                                                                                                                       7
    “ It is hopeless for the occasional visitor to try to
      keep up with Chicago. She outgrows his
      prophecies faster than he can make them.”

     MARK TWAIN




                                                                          The Crown Fountain in Millennium Park
                                                                                                                  Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 10 of 67 PageID #:2380




8     The Barack Obama Presidential Library: Chicago and the South Side       The University of Chicago       9
Chicago’s South Side:
Proud History, Economic Promise
As the archive of the nation’s first African American          the South Side is marked by a resurgent creative
president, the Barack Obama Presidential Library               energy and by communities that are deeply invested
will have profound historical significance. Locating           in strengthening education, housing, and jobs.
the Library on the South Side of Chicago would                 Groundbreaking, evidence-based programs to drive
acknowledge the importance of the area in the                  change in schools and to help get young men on the
President’s professional life and in US history, and           right track have taken hold here because the South
highlight it as a continuing force in Chicago’s                Side stands poised to embrace new opportunities.
evolution.                                                     The Barack Obama Presidential Library could lead
                                                               and support new collaborations. It would have an
From its earliest days, Chicago offered shelter to             outsized impact on the economy, social fabric, and
immigrants and jobs in industry. Over time, the                cultural offerings in South Side neighborhoods.
South Side also became a flourishing intellectual
and creative community. Yet it also bears the scars
of post–World War II redevelopment, urban flight,
population loss, and industrial decline. Today




                                                                                                                     South Side community members at
                                                                                                                     a 2010 speech by President Obama
                                                                                                                                                        Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 11 of 67 PageID #:2381




10        The Barack Obama Presidential Library: Chicago and the South Side                                         The University of Chicago      11
                                                                                                                                                                     ON THE
                                                                                                                                                                     SOUTH SIDE



                                                                                                                                                                     35,000
                                                                                                                                                                     pieces in the
                                                                                                                                                                     Dusable Museum
                                                                                                                                                                     of African
                                                                                                                                                                     American History
                                                                                                                                                                     collection


                                                                                                                                                                     1.5 million
                                                                                                                                                                     Bud Billiken
                                                                                                                                                                     Parade attendees
A Greater Identity
The election of Barack Obama as president was inspiring          This is evident in the commercial transformation of 53rd                                            13.5
to young people everywhere, nowhere more so than on              Street in Hyde Park and in a cultural transformation                                                miles of lakefront
the South Side of Chicago, where the President and First         afoot in Washington Park, where artist and urban planner
Lady have made a lasting impact with their community             Theaster Gates is leveraging the arts to spur economic
work. At the dedication of the University of Chicago             development.
Charter School’s Carter G. Woodson middle school                                                                                                                     25+
campus in 2008, eighth-grader R’mani Haulcy read her             Programs such as the Woodlawn Children’s Promise
                                                                                                                                                                     festivals per year
poem about President Obama’s election: “Change is here.          Community are boosting education and opening new doors
We will soon have a black president. He is one of the            for South Side youth. Job opportunities are flowing from
many fathers of our nation that reminds people of power          initiatives like One Summer Plus, which has partnered with
and intelligence.”                                               other organizations to offer more than 22,000 jobs and                                              23
                                                                 internships to youth and young adults. These efforts are
The world converged on the South Side of Chicago for             promising, but much more work is needed if the South Side
                                                                                                                                                                     Divvy bike
the World’s Columbian Exposition in 1893. The area               is to realize its potential.                                                                        sharing stations
remains a cultural focal point, from festivals that recall
the South Side roots of jazz to such major institutions          Change is here. The Barack Obama Presidential Library
as the Museum of Science and Industry, the DuSable               could fuel this momentum, helping the South Side pioneer
Museum of African American History, and the                      solutions to urban challenges and sparking new business
                                                                                                                                                                     1.4 million
University of Chicago.                                           development, jobs, and youth programs. Partnering with                                              Museum of
                                                                 communities on Chicago’s South Side could enable the
Increasingly South Side neighborhoods are developing             Library to forge an identity and impact unlike any other                                            Science and
new retail, lodging, dining, and cultural opportunities.         institution of its kind.                                                                            Industry visitors
                                                                                                                              Above left: Hyde Park Jazz Festival;
                                                                                                                              Right: South Side high school          per year
                                                                                                                              students at the UEI Science and
                                                                                                                              Math Camp
                                                                                                                                                                                         Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 12 of 67 PageID #:2382




12         The Barack Obama Presidential Library: Chicago and the South Side                                                                                                     13
     “ We’ve started to work already. Radical transformation
       is already happening. I hope the Obama Presidential
       Library will be part of that radical transformation.”
      THEASTER GATES, Urban planner, artist, and director of Arts + Public Life
                                                                                                                   Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 13 of 67 PageID #:2383




14    The Barack Obama Presidential Library: Chicago and the South Side           The University of Chicago   15
              CHAPTER TWO
              TH E U N IV E R S IT Y O F CH I C AG O A N D PA R TN E R S




              Delivering
              Possibility
              The University of Chicago was founded on the belief that
              education and discovery can transform lives. Because
              great ideas grow from a wealth of perspectives, the
              University opened its doors from the beginning to
              students and scholars of every gender, race, nationality,
              and religion. The new university consciously faced
              outward to its city and beyond, opening the nation’s ﬁrst
              school of social work, pioneering continuing education
              for adults, and building hospitals that served the
              community.

              The University’s founders understood that a great city
              and a great urban university can make each other better.
              Ideas, energy, and commitment ﬂow in both directions. In
              recent years the University of Chicago has embraced this
              partnership anew. Its ambition today is to create a model
              for what a global university and a global city can do in
              concert. The University is eager to welcome the Barack
              Obama Presidential Library to this partnership, working
              together to beneﬁt the South Side and make an impact
              far beyond Chicago.




                                                                                                  The Midway Plaisance
                                                                                                                         Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 14 of 67 PageID #:2384




16   The Barack Obama Presidential Library: The University of Chicago and Partners   The University of Chicago     17
                                                       50%
                                                       increase in
                                                       likelihood that
                                                       B.A.M. students will
Committed                                              graduate from high
                                                       school
to Enriching
                                                       45
Society                                                full-tuition
The University’s primary impact flows from             UChicago Promise
the work of its faculty, students, and alumni in       scholarships
every corner of the globe. UChicago scholars are
pushing toward innovations in cancer treatment,        awarded in
clean water, and energy storage. They are shaping      2013–14
policies to prevent youth violence and drive
genuine change in pre-K through 12 education.
UChicago students are among the most engaged
in the world, and University initiatives like the      $1 billion
Institute of Politics seek to ignite in them a         generated from
passion for public service.
                                                       New Venture
The University also has impact as the largest          Challenge
employer on the South Side and a major
economic force. A growing network of initiatives       company exits and
seeks to translate that activity into jobs for         acquisitions
South Side residents, business opportunities, and
amenities for neighboring communities. These
efforts are built on collaboration and evaluated for
their long-term community impact.                      48%
                                                       of Center for Care
The Barack Obama Presidential Library would
both advance this commitment and benefit               and Discovery
from it. The University’s growing network of           construction
relationships would support the Library in its
intention to become a new kind of urban library:       contracts awarded
committed to global impact and deeply integrated       to M/WBEs
into its surrounding communities.


                                                       1,700
                                                       students served by
                                                       the four UChicago
President Obama attends a session of Youth             Charter School
Guidance’s B.A.M. (Becoming A Man) program at
Hyde Park Academy high school.                         campuses
                                                                         Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 15 of 67 PageID #:2385




18                                                                  19
“ Innovation is at the crux of growth and drives
  the vision for the future of the City of Chicago.
  The birthplaces of ideas and thoughts that spur
  innovation have often been institutions of higher
  education like the University of Chicago.”

  RAHM EMANUEL , Mayor of Chicago




The Grand Reading Room of the Joe and
Rika Mansueto Library, where 3.5 million
volumes can be stored underground and
retrieved by a robotic crane
                                                                                                                           Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 16 of 67 PageID #:2386




20        The Barack Obama Presidential Library: The University of Chicago and Partners   The University of Chicago   21
                                                                                                                               GLOBAL
Crossing Borders, Creating Impact                                                                                              ENGAGEMENT


University of Chicago ideas transcend borders, and the           experiments, touching on health care questions every
University’s extensive network of international projects         country faces. The Center for Global Health is conducting     50+
and partnerships makes an impact around the globe. For           breast cancer studies in Chicago and Nigeria, and research
more than a century, UChicago scholars and students have         about HIV/AIDS transmission networks in India has led
                                                                                                                               languages taught
pursued their work overseas. Today that reach extends            to studies on the spread of AIDS on Chicago’s South Side.     on campus
farther than ever, with hundreds of programs in dozens
of countries, on every continent. This engagement would          The University also delivers education with a global
bring a global perspective and a worldwide platform to a         perspective. Each year, hundreds of students in the
partnership with the Barack Obama Presidential Library.          College choose from programs and internships in more
                                                                                                                               3,100
                                                                 than 50 cities around the world. The Pritzker School          international
The University of Chicago operates centers for study and         of Medicine’s Global Health Scholarship track gives
research collaboration in Paris, Beijing, Delhi, and soon        students international experiences in places such as West     students from 100+
in Hong Kong. These centers host global leaders and              Africa and South Asia. At the Tata Institute of Social        countries
scholars, provide a home base for students, and expand           Sciences in Mumbai, founded by a UChicago alumnus
opportunities for partnerships with a variety of academic        in 1936, graduate students in the School of Social Service
and public institutions. The University of Chicago Booth         Administration can spend a summer studying urban
School of Business also operates campuses in London,             poverty.                                                      177,000
Singapore, and Hong Kong.                                                                                                      alumni in
                                                                 In the University’s Human Rights Program, students,
UChicago Research Bangladesh is a biomedical research            faculty, and staff regularly engage in projects supporting    153 countries
center that was born out of a long-term study on the             both domestic and international human rights issues.
effects of arsenic exposure. Now, more than 200 staff            Human rights education prepares students to act as global
provide primary health care to over 100,000 people across        citizens, whether they are biologists, business executives,   746
Bangladesh. At Chicago House in Luxor, Egypt, scholars           or language teachers. Ongoing initiatives include Crisis
from many nations work together to save and understand           of Humanitarianism, Health and Human Rights, and              Peace Corps
ancient treasures of the Near East.                              Human Rights at Home, which includes projects such as
                                                                                                                               volunteers
                                                                 the Chicago Police Torture Archive.
The University’s scholars travel widely because the
greatest challenges of our time also transcend borders,          These centers and programs draw from the penetrating
sometimes in unexpected ways. The University’s Institute         inquiry and institutional strength that make the              110
for Molecular Engineering is working with Ben-Gurion             University distinctive. The goal, making human lives
University of the Negev in Israel to apply nanotechnology        better around the world, never changes, but the shape
                                                                                                                               Fulbright-Hays
to create and preserve clean drinking water. Fresh water         this work takes is flexible and open to innovation.           grants
is a global issue that most informed observers believe will      All this provides a global network well suited to joint
be one of the world’s most critical problems in the 21st         programming with the Barack Obama Presidential
century.                                                         Library—giving visitors, students, and scholars across the
                                                                 globe another way to engage with the Library and with
                                                                                                                               7
The University is working with the Public Health                 one another.                                                  continents
Foundation of India to conduct a study about expanding
India’s public health insurance program to cover India’s                                                                       with UChicago
                                                                 Above right: UChicago Research Bangladesh;
entire population. This study involves nearly 60,000             Below right: Panel discussion during the opening              programs
people, making it one of the world’s largest public policy       celebrations of the UChicago Center in Delhi
                                                                                                                                                  Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 17 of 67 PageID #:2387




22         The Barack Obama Presidential Library: The University of Chicago and Partners                                                     23
Partnering for the South Side’s Future
In recent years, the University of Chicago has steadily           and turn discoveries into companies. The CIE is part of a
cultivated its expanding relationship with South Side             rebirth of 53rd Street in Hyde Park, where the University
communities and the City of Chicago. This work was                has partnered with the City and private developers to
advanced in 1996 with the appointment of Michelle                 catalyze a new South Side destination.
Obama as the first director of the University Community
Service Center. The University’s future is inextricably           Through partnerships across campus and with
linked to the success of its neighbors and of the city it         community leaders, the Community Programs
calls home. The relationship is reciprocal—each partner           Accelerator helps launch nonprofit organizations to
contributes actively to the success of the other. As a            serve the South Side and helps existing organizations
result, the University’s impact is now greater than ever          expand their impact. This initiative houses up to four
with the combined strengths of new collaborations.                organizations at a time on campus and connects them
                                                                  with University faculty and students, complementing
Much of this work is focused on building a better future          and enhancing collaborations currently underway at
for young people. The Urban Education Institute is a              the Law School’s Mandel Clinic, the Social Enterprise
model for University engagement. Through four charter             Initiative at Chicago Booth, the School of Social Service
school campuses, UEI educates children from South Side            Administration, and elsewhere at the University.
neighborhoods, helping 100 percent of its graduates gain
admission to college over the last two years. The charter         The University of Chicago Medicine also serves as an
school experience informs research that flows back to             economic engine on the South Side, providing thousands
help teachers in the classroom and create tools for school        of jobs. It has been a leader in the participation of
improvement across the nation.                                    women- and minority-owned businesses in its purchasing
                                                                  and construction. In its hospitals and in community
Like UEI, the UChicago Crime Lab grew out of a                    clinics supported by the University of Chicago Medicine,      Above: Students cheer on participants in the 2013 Brave
challenge and an opportunity. Scholars were moved                 clinicians serve a population that has struggled with         New Voices Festival, an international youth poetry slam
by the tragedy of youth violence. They wanted to use              chronic health problems and limited access to care.           supported by UChicago’s Reva and David Logan Center
                                                                                                                                for the Arts; Below left: Carla M. Lopez meets Michelle
research to discover interventions that put young people
                                                                                                                                Obama at the 2004 UChicago Collegiate Scholars
on a better path. The Crime Lab’s work has attracted              Through these efforts and many more, the University of        Program Welcome Ceremony; Below right: Priscilla
the attention of policy makers across the country and             Chicago has learned how to be an effective partner for        Agbeo presents her ﬁndings during the math portion of
led to the expansion of programs like Youth Guidance’s            large, complex, and ambitious programs. The University        the UEI Science and Math Camp

Becoming a Man. As a byproduct, Crime Lab researchers             will be an anchor for the South Side for the next 100
found that the best antiviolence programs also boost              years and beyond. It can help the Barack Obama
young men’s success in school. They have now formed a             Presidential Library extend its reach and have a lasting
partnership with UEI to build on these findings.                  impact.

The University is creating economic opportunity through           Christian Champagne, a participant in Becoming a Man,
programs that connect South Side residents with jobs and          dreams about that impact. “President Obama inspired
support the growth of businesses. UChicago Local builds           me to do better. The Obama Presidential Library could
on successful business diversity efforts to direct a greater      be a starting point, a seed of perseverance. This library
share of University purchasing to South Side businesses,          could say, ‘I can do it.’ It could spread like wildfire. No
while training local business owners. The Chicago                 matter where you’re from, you could have that building.
Innovation Exchange will team with Argonne National               It’s for all of us.”
Laboratory, the Polsky Center for Entrepreneurship and
Innovation, and others to support Chicago entrepreneurs
                                                                                                                                                                                                                           Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 18 of 67 PageID #:2388




24         The Barack Obama Presidential Library: The University of Chicago and Partners                                                                                                  The University of Chicago   25
                                                                                     “ The University of Chicago is an entire community
                                                                                       that cares about answering questions and about the
                                                                                       method for getting there.” 
                                                                                      SARA KUSE, UChicago Promise student, Class of 2017
                                                                                                                                                                            Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 19 of 67 PageID #:2389




26   The Barack Obama Presidential Library: The University of Chicago and Partners                                                         The University of Chicago   27
UChicago Collaborative Programs: Early                                                                                                   Childhood through Adulthood
                                                                                                                                                                                           M IDDLE SCHO O L
 President Obama has said that agents of transformative change must be
 bold thinkers, people who are “disrupters and not incrementalists” in their approach to problem                                                                                       Argonne National Laboratory                                UEI 6to16
                                                                                                                                                                                       Learning Labs                            With funding from the Gates
 solving. He has emphasized that the best ideas for serving the public good have deep roots in high-                                                                                                                          Foundation, 6to16 is a college
                                                                                                                                                                                       On ﬁeld trips to Argonne, middle
 quality research and are supported by strong data and rigorous analysis.                                                                                                              school students from CPS learn       readiness curriculum to prepare
                                                                                                                                                                                       about careers in STEM ﬁelds                    children as early as the
                                                                                                                                                                                       by working with microscopes            sixth grade for the experience
 University of Chicago leaders, faculty, staff, and students are passionate about imagining a better                                                                                                                                     of higher education.
                                                                                                                                                                                       and spectrophotometers and
 future and are willing to act—and act now—to ﬁnd new solutions to long-standing challenges.                                                                                           participating in demos of forensic
 UChicago takes a multifaceted approach to strengthening local communities and lifting children                                                                                        science and superconductivity.
                                                                                                                                                                                                                                     Ages 11–14
 towards college through an active network of collaborative programs.
                                                                                                                                           Urban Education In
                                                                                                                                                           Institute
                                                                                                                                           UEI aims to transform sschools through      Providing opportunities
      E ARLY CH ILDH OOD                                                                        E LE ME NTARY SCHOOL
                                                                                                              S CHOO L                     innovations in research,
                                                                                                                                                          research teacher
                                                                                                                                           education, charter scho
                                                                                                                                                              school management,
                                                                                               Pritzker School of Medicine South                               uniq
                                                                                                                                           and the creation of unique educational      for students to succeed
                                                                                                           Side Science Scholars                              Exam
                                                                                                                                           tools and models. Examples  of
 Equipping families to                                                                           Physicians and medical students offer     programs include:                           CUIP: University of Chicago                      Enrico Fermi Institute
                                                                                                                                                                                                                                      Summer Science Interns
                                                                                               weekly science workshops for students                                                   Internet Project
                                                                                                                                           UEI 5Essentials
                                                                                              on Chicago’s South Side, aiming to build                                                 Since 1996, astrophysicist                        Physics with a Bang!
 raise thriving children                                                                     enthusiasm for science and teach children     Schools with the most ssuccessful                                                        at the Materials Research
                                                                                                                                                                                       Donald York has supervised a
                                                                                                    about health and the human body.                            com
                                                                                                                                           students share ﬁve common                                                            Science & Engineering Center
                                                                                                                                                                                       volunteer initiative that provides
                                                                  Center for Early                                                         features—effective lead
                                                                                                                                                                leadership,
                                                                                                                                                                                       the installation of data wiring,     SESAME: Seminars for Elementary
     Ages 0–5                                                                                                                              collaborative teachers, involved
                                                              Childhood Research                                                                                                       electrical power, computer labs,       Specialists and Math Educators
                                                                                                                                           families, supportive env
                                                                                                                                                                 environments,
                                                 The “Baby Lab” explores the mental                                                                                                    and software to 35 schools on the            UEI/Summer Accelerated
                                                                                                                                                                                                                                               Accele
                                                                                                                                                                                                                                                    erated
                                                                                                                                                           instructi
                                                                                                                                           and ambitious instruction.   5Essentials
                                                world of infants to discover the origin                                                                                                South Side.                                             Science
                                                                                                                                                                                                                                               Scienc
                                                                                                                                                                                                                                                    ce and
                                                                                                                                           is a diagnostic survey ssystem to help
                                                and function of key capacities, giving                                                     school districts, parent
                                                                                                                                                             parents, and teachers                                                             Math Camp
                                                                                                                                                                                                                                                     C
                                               educators and policy makers the tools
                                                                                              Ages 6–10                                                                                Enrico Fermi Institute
                                                                                                                                                              impro
                                                                                                                                           identify areas for improvement.
                                                               to help children thrive.                                                                                                Expanding Your Horizons
                                                                                                                                           UEI Strategic Teach
                                                                                                                                                         Teaching                      EYH is an annual STEM
 Thirty Million Words Initiative                                 Washington Park                                                                          Program
                                                                                                                                           and Evaluation Prog
                                                                                            Fostering                                                                                  conference connecting
 The number of words babies hear                             Free Children’s Clinic                                                                                                    200 middle school girls
                                                                                                                                           STEP is a reading curric
                                                                                                                                                              curriculum that
 from birth to 3 years old affects                  Medical students established this                                                                                                  with a wide array of women
                                                                                                                                           equips teachers with totools and
 brain development profoundly.                              free clinic for infants and                                                                                                mentors in Chicago.
                                                                                                                                           training to help pre-K tthrough third
 This program empowers                                           children in 1997. The
                                                                                            an early                                       grade children hit literacy
                                                                                                                                                              litera milestones.
 parents and promotes                                               student-run clinic                                                                                                 More programs:
                                                                                                                                           Schools in 20 states an
                                                                                                                                                                 and 39 cities
 equity through home                                         provides immunizations,                                                       currently use STEP.                         Argonne National Laboratory
 visits and eventually                                                   physicals, and     love of                                                                 More programs:
                                                                                                                                                                                       Regional Middle School
 a city-wide education                                                   social service                                                                        School Science Clubs
                                                                                                                                                         After Scho                    Science Bowl
 campaign. (Mother and                                                         referrals.                                                       with the Materials Research
                                                                                                                                                                   R        Science
 son in program, right.)                                                                                                                                                               ASAP: Adolescent
                                                                                            learning                                                             Engineering Center
                                                                                                                                                               & En
                                                                                                                                                                                       Substance Abuse Program
 More programs:                                                                                                                                              Calvert
                                                                                                                                                             Calver House Tutoring
                                                                                                                                                                                       Chicago Center for
 Chapin Hall: Research for                                                                                                                 Pediatric Mobile Medical Health Care Unit   Youth Violence
 Children, Families, and                                                                    CEMSE:                                                                School of Medicine
                                                                                                                                                         Pritzker Sc                   Prevention
 Communities                                                                                                                                            South Side Science Scholars    The Civic Knowledge
                                                                                            Center for Elementary
 Community Health Clinic                                                                    Math and Science Education                    STOMP: Science and Technology
                                                                                                                                                             Tech       Outreach       Project’s
                                                                                                                                                           and Me
                                                                                                                                                               Mentoring Program       Winning Words
 Jumpstart Pre-School Corps                                                                 With funding from Google, the                                                              Initiative
 Maria Shelter Medical Clinic                                                               NSF, and UChicago, CEMSE                              University of Chic
                                                                                                                                                                Chicago Consortium
                                                                                            is a research center geared at                             on Chicago School Research      Ci3: Center for
 Pritzker Consortium                                                                                                                                                                   Interdisciplinary
                                                                                            providing teachers nationwide                                    Unive
                                                                                                                                                             University of Chicago
 on Early Childhood                                                                                                                                                                    Inquiry and
                                                                                            with the best tools and training                                   Mathematics Project
                                                                                                                                                        School Mat
 Development                                                                                                                                                                           Innovation in Sexual
                                                                                            materials for strong elementary
 Urban Health Initiative                                                                                                                                 Oriental Institute Outreach   and Reproductive Health
                                                                                            education in STEM courses.
                                                                                                                                                             Programs for Children
                                                                                                                                                                                                                                                                  Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 20 of 67 PageID #:2390




28        The Barack Obama Presidential Library: The University of Chicago and Partners                                                                                                                                     The University of Chicago        29
                                        Years 0-5


UChicago Collaborative Programs: Early Childhood through Adulthood

      HIGH SCHOOL                                                                                                                      CO L L E G E                                 A D U LT E D U C AT I O N

 Black Youth Project                          MAPSCorps                                                        More programs:

 Professor Cathy Cohen developed              In 2000, the Urban Health                          Argonne National Laboratory
 the BYP, a website dedicated to              Initiative launched MAPSCorps—                              Exemplary Student
                                                                                                                                   Connecting
 knowledge about the lives, ideas,            Meaningful, Active, Productive                               Research Program
 and attitudes of black youth. It is          Science in Service to                                              BYP Research
 a news source, a social network, a           Communities—to create a map
                                                                                                                       BYP100
                                                                                                                                   students
 tool for political mobilization, and         and working database of the
 a platform where youth make their            resources on the South Side, and                          Ci3/South Side Stories
 voices heard.                                to involve high school students in                                Ci3/The Source
                                                                                                                                   with their
                                              the work of mapmaking and data
                                                                                                       College Bridge Program
                                              analysis. Equipped with custom
                                              smart phones, students survey               Court Theatre/Artists-in-the-Schools     community
                                              neighborhoods block by block                                            Initiative
     Ages 15–18                               on foot.                                                       GEAR UP Alliance
                                                                                                     Mathematics Department          Ages 19–22
                                                                                                     Young Scholars
                                                                                                           Sc
                                                                                                            cholars Program
                                                                                                            c
 Encouraging students
                                                                                                                                                                               Making a lasting impact
 to aim high and achieve                                                                                                                                                       Community
 Space Explorers                              Ci3/Game Changer
                                                                                                                                                                               Programs Accelerator                                        Ages 23+
                                                                                                                                                                               The Accelerator, launched in May
 Space Explorers engages the                  Chicago Design Lab                                                                                                                                                          UEI Urban Teacher
                                                                                                                                                                               2014, helps develop community-based
 average high school student                  The GCC Lab builds game-based                                                                                                    nonproﬁts. Through partnerships            Education Program
 on the South Side. Students                  approaches to studying and                                                           Neighborhood
                                                                                                                                   Neighbo
                                                                                                                                         orho   Schools Program
                                                                                                                                                                               with industry and access to UChicago       UTEP is a graduate program to train
 spend 10 nights at the Yerkes                understanding youth developm ment,
                                                                   development,                                                    NSP connects
                                                                                                                                        connnects hundreds of UChicago         faculty, students, and other resources,    effective teachers in the Chicago Public
 Observatory in Wisconsin. With                                            h, and
                                              sexual and reproductive health
                                                                      health,                                                      undergrad
                                                                                                                                   undergraduates
                                                                                                                                             duat each year to                 it incubates start-ups, accelerates        Schools. UTEP immerses its students in
 their mentors, they conduct                                               scents.
                                              the challenges faced by adoles
                                                                      adolescents.                                                            opp
                                                                                                                                   volunteer opportunities working             existing organizations, and expands        the research behind effective strategies
 experiments in engineering and                                                                                                    with youth
                                                                                                                                        youth on the South Side. They          impactful programs to the heart of the     and allows them to practice those
 physics. Since 1990, 100 percent                                                                                                  contributee ov
                                                                                                                                               over 35,000 hours of            South Side.                                strategies in classroom environments.
 of the student participants in                                                                                                    service an
                                                                                                                                            nnua
                                                                                                                                           annually.
 Space Explorers have enrolled in                                                                                                                                                                      More programs:     After ﬁve years, UTEP graduates show a
 college; over 50 percent chose                                                                                                                                                                                           90 percent retention rate; other teacher
                                                                                                                                   UChicago
                                                                                                                                   UChicag
                                                                                                                                         go Promise
                                                                                                                                            P                                          Center for International Studies
 to major in STEM. (Students in                                                                                                                                                                                           training programs have a 50 percent
                                                                                                                                   UChicago o Pro
                                                                                                                                               Promise aims to increase                      CHeSS: Center for Health     retention rate. (In photo above)
 program, right.)
                                                                                                                                   the numb
                                                                                                                                       number er o
                                                                                                                                                 of low-income and                            and the Social Sciences

 Network for College Success                                                                                                       minority sstud
                                                                                                                                             students from Chicago                    Edwin F. Mandel Legal Aid Clinic         Polsky Center for Entrepreneurship
                                                                                                                                   schools w      a
                                                                                                                                            who attend   selective colleges.                                                     and Innovation at Chicago Booth
 NCS works with high school                                                                                                                                                                                 Crime Lab
                                                                                                                                   In additio
                                                                                                                                      additionn to eliminating loans for                                                           South Side Arts and Humanities
 officials to ﬁnd ways of raising the                                                                                                                                                                       HealtheRx
                                                                                                                                   qualifying  Ch
                                                                                                                                             g Chicagoans   admitted to                                                                                  Network
 number of qualiﬁed CPS students
                                                                                                                                   UChicago
                                                                                                                                   UChicago,o, the program convenes                               IMPACT Leadership
 who enroll in and graduate from                                                                                                                                                                                            South Side Health and Vitality Studies
                                                                                                                                           appplic
                                                                                                                                   college application   workshops,                             Development Program
 college by helping schools build a
                                                                                                                                   advises coouns
                                                                                                                                            counselors,  and provides                                                        South Side Health Care Collaborative
 college-going culture within their                                                                                                                                                                Know Your Chicago
                                                                                                                                   mentoring g for youth.
 communities and encourage high                                                                                                                                                                                                             Sustainability Partners
                                                                                                                                                                                                  The Odyssey Project
 expectations.                                                                                                  NASA All-Stars                                                                                                                     Urban Network
                                                                                                                                   University C
                                                                                                                                   University Community
                                                                                                                Research in the            Center
                                                                                                                                   Service Cen
 Collegiate Scholars Program
                                                                                                            Biological Sciences
 Since 2003, UChicago’s CSP has                                                                                                    For over two
                                                                                                                                            t      decades, the UCSC           Institute of Politics
                                                                                                       Training Early Achievers                                                                                           More programs:
 offered a three-year course of                                                                                                        helped st
                                                                                                                                   has helped   students at UChicago
                                                                                                           for Careers in Health                                               David Axelrod’s Institute of Politics      Mobilization, Change, and Political
 intensive college prep classes to                                                                                                 strengthe
                                                                                                                                   strengthen   co
                                                                                                                                            en communities    and
                                                                                                                                                                               is a cocurricular program designed         and Civic Engagement
 talented students drawn from 45                                                                          Successful Pathways               t c
                                                                                                                                   advance the    cause of social justice
                                                                                                                                                                               to ignite in young people a passion
 public high schools. Accelerated                                                                         from School to Work      in Chicago
                                                                                                                                      Chicago.  U
                                                                                                                                             o. UCSC   participants serve
                                                                                                                                                                               for politics and public service.
 summer courses prepare Collegiate                                                                              Upward Bound       in hospita
                                                                                                                                      hospitals,
                                                                                                                                            als, sschools, nonproﬁts,
 Scholars for success at top-tier                                                                                                  governme
                                                                                                                                   government     a
                                                                                                                                            ent agencies,   and community
 colleges.                                                                                                                         organizat ions
                                                                                                                                   organizations.
                                                                                                                                                                                                                                                                           Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 21 of 67 PageID #:2391




30        The Barack Obama Presidential Library: The University of Chicago and Partners                                                                                                                                        The University of Chicago              31
                                                                                     “ UChicago Charter School Woodlawn has taught
                                                                                       us that we will fight with our brains, not our fists.
                                                                                       We will overcome any obstacle that is put in front
                                                                                       of us, unafraid to fail because we know that we
                                                                                       are not defined by our failures, but from the
                                                                                       lessons we learn from failing, and how we better
                                                                                       ourselves because of them.”

                                                                                      SHANI EDMOND, First graduating UChicago Charter School Woodlawn class, 2010;
                                                                                      Salutatorian, Oberlin College, Class of 2014
                                                                                                                                                                       Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 22 of 67 PageID #:2392




32   The Barack Obama Presidential Library: The University of Chicago and Partners                                                    The University of Chicago   33
Voices in the Community
Community members have played a key role in                       African American history, it is eager to create joint        David R. Mosena, president and CEO of the Museum
envisioning the Barack Obama Presidential Library on the          programs for youth, speakers series, and museum              of Science and Industry, is another member of the
South Side of Chicago. Their aspirations help bring to life       exhibits. “People who come to visit the Library are people   Community Advisory Board and a longtime partner in
the potential for the Library to transform the South Side.        who will discover something they didn’t know about in        bringing science alive for young people. The largest visitor
Their engagement is an endorsement of the Library and an          this neighborhood and want to visit that as well.”           attraction on the South Side, MSI is located within three
important resource.                                                                                                            miles of the proposed Library sites. Mosena envisions
                                                                  Adams is a member of the Community Advisory                  collaborative programming for youth that focuses on
“Think of all the things that would come to the                   Board that has worked with the University to imagine         science, technology, engineering, and math.
community in the wake of the Library,” said Carol                 possibilities for the Library on the South Side. The
Adams, president and CEO of the DuSable Museum of                 group brings together prominent leaders who share a          “These are places of discovery and innovation,” Mosena
African American History. DuSable is one of the many              commitment to strengthening the quality of life in South     said. “Cultural institutions change lives. So have the         Members of the University of Chicago’s Barack Obama
                                                                                                                                                                                              Presidential Library Community Advisory Board gather
enthusiastic partners the Barack Obama Presidential               Side neighborhoods.                                          Obamas. Their lives are testimony to possibility. Having
                                                                                                                                                                                              at a meeting. Above left: David R. Mosena, Susan S. Sher;
Library would find here. The nation’s first museum of                                                                          the Barack Obama Presidential Library here would inspire       Above right: Timuel Black, Jim Reynolds, Jr., and Shirley
                                                                                                                               all those who came to it, particularly on the South Side.”     J. Newsome
                                                                                                                                                                                                                                                          Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 23 of 67 PageID #:2393




34         The Barack Obama Presidential Library: The University of Chicago and Partners                                                                                                                             The University of Chicago      35
Institutions Ready for Collaboration
South Side organizations are not the only ones eager to           Conversations with the Chicago Botanic Garden were
partner with the Barack Obama Presidential Library.               inspired by First Lady Michelle Obama’s focus on
The University of Chicago has opened dialogues with               building healthy communities. A partnership with the
other universities and cultural organizations, from the           Botanic Garden could lead to urban and community
heart of Chicago to Hawaii and across the globe. Their            farming programs, education and job training, and
excitement and creativity enrich the possibilities for            a Library garden that reflects the spirit of Michelle
programming.                                                      Obama’s White House garden.

The Barack Obama Presidential Library is likely to use            The Boys & Girls Clubs of Chicago offer a direct path
digital technology in new ways. This idea animates a              to young people in some of the city’s most vulnerable
discussion with the University of Hawaii that began               communities. The Boys & Girls Clubs have the
in 2013. The two universities envision a Hawaii                   experience to help shape efforts to enrich the lives of
Presidential Center, created in partnership with the              young people and a network of programs that provides
Barack Obama Presidential Library on Chicago’s South              opportunities for collaboration. University leaders
Side. This would give visitors, students, and scholars            have also met with representatives of several other
across the ocean another way to engage with the                   youth programs enthusiastic about partnering with the
Library’s historical content and with one another.                University and the Library to develop programming,
                                                                  including After School Matters, High Jump, and Pilot
Closer to home, UChicago leaders have met with                    Light.
Northwestern University and the University of Illinois
at Chicago. Their participation would contribute to the           These organizations and many others welcome the
intellectual capital available to the Library. Potential          chance to bring together their distinct strengths in
areas of collaboration among the three universities range         support of the Library and in partnership with one
from urban community health, violence prevention,                 another.
and science education to the role of media and digital
technology. These university communities would extend
and multiply participation with the Library throughout
the region.
                                                                  Clockwise from top left: Northwestern University
                                                                  students; After School Matters participants; the
                                                                  University of Hawaii Kakaako site; Museum of
                                                                  Science and Industry visitors; Boys & Girls Clubs of
                                                                  Chicago participants
                                                                                                                                                             Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 24 of 67 PageID #:2394




36         The Barack Obama Presidential Library: The University of Chicago and Partners                                    The University of Chicago   37
“ We can imagine a unique Library campus that
  reflects in spirit First Lady Michelle Obama’s
  White House garden—a vibrant, thriving space
  for learning, inspiration, and growth—as well as the
  President’s interests in science education and workforce
  development, and a shared commitment to veterans.”
                                                                                         Students participate in an education
 SOPHIA SHAW, President & CEO, Chicago Botanic Garden                                    program at the Chicago Botanic Garden
                                                                                                                                 Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 25 of 67 PageID #:2395




 38      The Barack Obama Presidential Library: The University of Chicago and Partners       The University of Chicago    39
             CHAPTER THREE
             SITE PROPOSALS




             Picturing Possibility
             When the University of Chicago began to imagine a
             location for the Library, many sites held potential. A few
             key criteria helped to narrow the choices. The location
             should be truly urban and central to a larger rebuilding
             effort, facilitating a transformation and revitalization of
             the surrounding neighborhood. The site should be near
             public transportation and major roadways, extending the
             opportunity and experience of the Library to all. And the
             site should reﬂect both a personal and local signiﬁcance
             for the President and his family, acting as a symbol of his
             enduring legacy.

             Three sites in particular rose above the others as
             most likely to fulﬁll the potential of the Barack Obama
             Presidential Library: Washington Park, Woodlawn, and
             South Shore.




                                                             1   Washington Park




                                                                                   2   Woodlawn


                                                                                                  3   South Shore
                                                                                                                                            Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 26 of 67 PageID #:2396




40   The Barack Obama Presidential Library: Site Proposals                                                 The University of Chicago   41
One                                                             1      Washington Park                      2         Woodlawn                           3        South Shore

Great City,
Three
Great Choices
The Barack Obama Presidential
Library in the heart of Chicago’s South
Side would be a true destination. It
would create a Museum Campus
South, a collection of premier cultural
institutions on the South Side. It would
become one of Chicago’s major arts
and cultural venues, integrating culture
and education into daily life. It would
add to Chicago’s tradition of placing
museums in the garland of parks                                        This site is located at the                 This site harnesses the legacy of           The South Shore parkland sits
throughout the city, combining the                              prominent and symbolic intersection         three powerful movements: Olmsted            directly on the waterfront of Lake
opportunity to engage with nature and                           of Dr. Martin Luther King Jr. Drive         and Burnham’s American democratic            Michigan, with views of the city skyline
an enriching educational experience.                            and Garﬁeld Boulevard, truly part of        optimism as embodied in the Columbian        and the horizon. The setting offers a host
                                                                the urban fabric of the South Side. It      Exposition landscape of Jackson Park;        of opportunities for outdoor activities
                                                                extends into the western edge of historic   the creative spirit that brought jazz        and recreation supported by a vibrant
                                                                Washington Park, designed by Frederick      and blues to the streets of the South        community hub at the South Shore
                                                                Law Olmsted, and sits across the park       Side; and the intellectual culture of the    Cultural Center. At the intersection of
                                                                from the DuSable Museum of African          University of Chicago and the Museum         Lake Michigan, the Millennium Reserve
                                                                American History. It joins UChicago’s       of Science and Industry. With access         Core, and the City of Chicago, the site
                                                                Arts Incubator and other artist-led         to the lagoon and Lake Michigan to its       could also connect to the last few miles
                                                                spaces along the Garﬁeld Boulevard          east, an urban edge to the west, and a       of the city’s public lakefront.
                                                                corridor. This thoroughfare, ripe for       concentration of nearby transportation
                                                                further reinvestment, offers tremendous     options, this site bridges life, work, and
                                                                potential for cultural and economic         recreation.
                                                                impact.
                                                                                                                                                                                                       Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 27 of 67 PageID #:2397




42      The Barack Obama Presidential Library: Site Proposals                                                                                                         The University of Chicago   43
                                                                             Adjaye                                                   Diller, Scoﬁdio                                      Studio
Make No                                                            1         Associates                                  2            + Renfro                                   3         Gang Architects
Little Plans
In the summer of 2013, the University of Chicago
invited three world-renowned architectural ﬁrms to
imagine siting the Library on Chicago’s South Side
and the impact it could have on the community. Each
led by their principal architects, Adjaye Associates
developed plans for Washington Park, Diller Scoﬁdio
+ Renfro worked on Woodlawn, and Studio Gang
Architects created designs for South Shore.

On November 5, 2013, the architects came together to
present their ideas to each other in a design charrette
held at the historic Robie House designed by Frank
Lloyd Wright.

“In a kind of active generosity we rarely see among
architects, there was a discussion around each
architect’s designs, strategies, takes on what the
Library meant. There was a very congenial and very
                                                                   David Adjaye                                          Charles Renfro, Ricardo Scoﬁdio, and Elizabeth Diller   Jeanne Gang
collaborative spirit in the room,” said Elizabeth Diller,
principal of Diller Scoﬁdio + Renfro. “The takeaway
was that we all feel that the South Side is the right
                                                                            Adjaye Associates was established in June              Diller Scoﬁdio + Renfro, led by Elizabeth              Studio Gang Architects is a Chicago-
spot for the Library. We feel that there’s something
                                                                   2000 by founder and principal David Adjaye OBE.       Diller, Ricardo Scoﬁdio, and Charles Renfro, is         based collective of architects, designers,
important about the South Side given its history,
                                                                   Receiving ever-increasing worldwide attention, the    an interdisciplinary design studio that integrates      and thinkers whose work engages pressing
its potential for change, and the concentration of
                                                                   practice’s largest commission is the design of the    architecture, the visual arts, and the performing       contemporary issues and their impact on human
intelligence there.”
                                                                   Smithsonian Institution’s National Museum of          arts. Diller and Scoﬁdio were the ﬁrst architects to    experience. Founded and led by MacArthur
                                                                   African American History and Culture on the           receive the MacArthur Foundation “genius” award         Fellow Jeanne Gang, the 2013 National Design
The ﬁrms produced very different creative concepts,
                                                                   National Mall in Washington, DC. Completed works      and have been named among Time magazine’s               Award–winning ﬁrm designs public and private
but each design included key features: a central and
                                                                   include: two neighborhood libraries in Washington,    100 Most Inﬂuential People. The studio’s completed      sector work across the nation, ranging in scale
accessible archive, a community center, recreational
                                                                   DC (2012), the Moscow School of Management            projects include the Lincoln Center redesign, the       from community anchors and cultural institutions
space, vegetable gardens and opportunities for
                                                                   SKOLKOVO (2010), the Nobel Peace Centre in            transformation of the High Line, and the design of      to tall mixed-use buildings and urban design.
urban agriculture, a net-zero energy footprint, and
                                                                   Oslo (2005), the Museum of Contemporary Art in        the Institute of Contemporary Art in Boston. DS+R’s     Architect of the acclaimed Aqua Tower in
reclamation of the surrounding landscape.
                                                                   Denver (2007), Rivington Place in London (2007),      current projects include Columbia University’s          Chicago and the University of Chicago’s Campus
                                                                   and the Idea Stores (2004, 2005)—two pioneering       Business and Medical Education Buildings, the           North student residence complex, Gang is
“This building could transform the way in which
                                                                   libraries in London. Renowned for an eclectic         Museum of Modern Art expansion, the Broad               recognized for her visually striking work and
we look at architecture and regeneration, and how
                                                                   material and color palette and a capacity to unfold   Museum in Los Angeles, the Museum of Image              environmentally sensitive approach. Gang is a
neighborhoods and society can work,” said David
                                                                   cinematically, the buildings differ in form and       and Sound in Rio de Janeiro, and Zaryadye Park          vocal advocate for the power of good design
Adjaye, principal of Adjaye Associates. “It could bring
                                                                   style, yet are uniﬁed by their ability to challenge   in Moscow. DS+R has received the Smithsonian’s          to rejuvenate neighborhoods and has designed
another, very signiﬁcant model to the table.”
                                                                   typologies and to generate a dynamic cultural         National Design Award and the American Academy          several community centers on Chicago’s South
                                                                   discourse.                                            of Arts and Letters’ Brunner Prize.                     Side.

                                                                   Section begins on page 46.                            Section begins on page 64.                              Section begins on page 82.
                                                                                                                                                                                                                                    Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 28 of 67 PageID #:2398




44         The Barack Obama Presidential Library: Site Proposals                                                                                                                               The University of Chicago    45
 1   Washington Park
                                                                                               Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 29 of 67 PageID #:2399




46    The Barack Obama Presidential Library: Site Proposals   The University of Chicago   47
 1   Washington Park




“The Barack Obama Presidential Library will create
 a new paradigm for Washington Park. Despite
 economic need, there is an incredible spirit there.
 This site has vast potential for transformation.”
 DAVID ADJAYE, Principal, Adjaye Associates




                                                               Architectural vision for the Washington
                                                               Park site looking northwest along
                                                               Garﬁeld Boulevard and Dr. Martin
                                                               Luther King Jr. Drive
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48     The Barack Obama Presidential Library: Site Proposals       The University of Chicago      49
                                                                 Above: Arrival plaza looking north;
                                                                 Below: Archive Hall; Oculus Hall;
     1    Washington Park                                        “Toot” Madelyn Dunham Promenade
                                                                                                            Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 31 of 67 PageID #:2401




50       The Barack Obama Presidential Library: Site Proposals           The University of Chicago     51
  1     Washington Park
                                                                  “ This building could inspire dialogue about how we
                                                                    create institutions and use institutions to make
                                                                    people’s lives so much better.”
                                                                   DAVID ADJAYE




Winter view looking south from the
Barack Obama Foundation office
                                                                                                                                     Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 32 of 67 PageID #:2402




52        The Barack Obama Presidential Library: Site Proposals                                     The University of Chicago   53
              THREE SITES                                    Above: View looking north at the
                                                             Michelle Obama Education Center and
               1     Washington Park                         Barack Obama Foundation office tower;
                                                             Below: Presidential Suite; view of the
                                                             First Lady’s Education Garden
                                                                                                               Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 33 of 67 PageID #:2403




54   The Barack Obama Presidential Library: Site Proposals                    The University of Chicago   55
                                                                    1      Washington Park




                                                                  A Model of Regeneration
                                                                  Imagining the Obama Presidential Library as the first          Gates imagines involving neighborhood teens from the
                                                                  truly urban presidential library, David Adjaye designed        Arts Incubator’s Design Apprenticeship Program in
                                                                  a campus that would operate on multiple scales of              the planning and construction process of the Obama
                                                                  renewal—individual, economic, and ecological. “It will         Presidential Library in Washington Park. DAP students
                                                                  actively engage the community, offering new business           who are learning design, landscaping, and carpentry from
                                                                  opportunities and prosperity to future generations,” he        skilled craftsmen at the Arts Incubator’s woodshop already
                                                                  said.                                                          are working to improve properties in Washington Park.

                                                                  The firm designed an urban hub, an economic center that        Working on the Library, they would learn about
                                                                  could build on the existing transportation infrastructure      innovative, sustainable materials and technology, such
                                                                  and the vitality of cultural institutions in Washington        as those Adjaye incorporated into the design of the
                                                                  Park. Already partnering with the City of Chicago, the         Library’s structures. Of note would be the “landscape of
                                                                  DuSable Museum of African American History is slated           roofs” design using transparent photovoltaics to generate
                                                                  to serve as an anchor in the City’s plans for a Museum         energy for the building. “We realized that not only could
                                                                  Campus South. An Obama Performing Arts Theater,                we make a building with net-zero power,” said Adjaye,
                                                                  public plaza, and community center could complement            “we can generate enough energy to reach out to the
                                                                  the existing institutions and generate commercial and          community and park; we can give energy back.”
                                                                  retail development.
                                                                                                                                 Giving back to the Washington Park community was
                                                                  Further west, the year-old Arts Incubator has helped to        the priority of the Adjaye plan. The design centers
                                                                  re-energize community life along Garfield Boulevard            on maximizing economic impact and the positive
                                                                  and Prairie Avenue through arts and community                  redevelopment of the Washington Park neighborhood.
                                                                  programming. In conjunction with the development of            The Barack Obama Presidential Library could be
                                                                  the Arts Incubator, jobs have been created and millions of     “a revolutionary model,” Adjaye said. “It could help
                                                                  dollars in grant funding have been awarded to spur new         a community remake itself through the idea of the
                                                                  programs in the neighborhood. Arts + Public Life director      presidency.”
                                                                  Theaster Gates, the visionary for the Arts Incubator, now
                                                                  has plans for an outdoor pavilion, collaborative research
                                                                  space, and coffee shop as part of the growing Arts Block
                                                                  on Garfield Boulevard. “If we could act as stewards of
                                                                  this neighborhood, not only would we advance the arts,”
                                                                  Gates said, “we would function as one of the first anchors
                                                                  in Washington Park that had an ambition of sincere
                                                                  transformation.”




Barack Obama Foundation offices
rooftop facing northeast                                                The full architectural submission is available on the accompanying tablet and at aplaceofpossibility.uchicago.edu.
                                                                                                                                                                                              Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 34 of 67 PageID #:2404




56        The Barack Obama Presidential Library: Site Proposals                                                                                         The University of Chicago       57
                                                               1     Washington Park

                                                                                                                            WA S H I N G TO N PA R K
                                                                                                                            SITE
                                                             Transforming
                                                             Washington Park                                                34.2
                                                                                                                            acres
                                                             The Washington Park site pairs the greatest need with
                                                             the greatest opportunity, creating the potential for true
                                                             transformation. Washington Park is the least developed
                                                             among the sites proposed. Within half a mile of the site,      Steps
                                                             scattered businesses provide 1,400 jobs, though the retail,    from a CTA Green
                                                             recreation, and food service industries are all small in
                                                             the area. No hotels or other forms of accommodation are        Line station
                                                             within one mile of the site.

                                                             Yet, of all the sites, this is the only one connected to a     1.7
                                                             CTA train and bus hub, and Garfield Boulevard, which
                                                             provides access to the Dan Ryan Expressway, less than          miles from a Metra
                                                             a mile away. This combination of private and public            Electric station
                                                             transportation routes makes the site the most accessible of
                                                             the three. A Library at this location offers the opportunity
                                                             to remake Garfield Boulevard and Dr. Martin Luther
                                                             King Jr. Drive into the grand thoroughfares they once          38.8 million
                                                             were.
                                                                                                                            transit trips near
                                                             Additionally, the site is linked to nearby cultural            the site per year
                                                             institutions, including the DuSable Museum of African
                                                             American History, the George Washington Memorial, and
                                                             the University of Chicago’s Arts Block, where mentoring
                                                             and community development programming will promote
                                                                                                                            95.2 million
                                                             local growth and vibrancy. Washington Park itself receives     vehicular trips near
                                                             a million and a half visitors on a single day for the Bud
                                                             Billiken Parade every year.
                                                                                                                            the site per year

                                                             As a result of this blend of under-resourcing and strong
                                                             potential, of all the sites, Washington Park would best        270
                                                             accommodate the new businesses that would be in
                                                             demand if the Barack Obama Presidential Library were           acres of
                                                             built in the heart of the South Side. A well-planned           vacant land in
                                                             development strategy would transform the neighborhood,
                                                             providing jobs, enhanced infrastructure, and educational       neighborhood
                                                             opportunities for youth.
                                                                                                                                                 Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 35 of 67 PageID #:2405




58   The Barack Obama Presidential Library: Site Proposals                                                                                  59
 1   Washington Park                                          Garﬁeld Boulevard Today
                                                                                                           Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 36 of 67 PageID #:2406




60    The Barack Obama Presidential Library: Site Proposals               The University of Chicago   61
 1   Washington Park                                                  A Vision for Garﬁeld Boulevard




“ The site that creates the most potential is usually the place
  that seems to be the backwater. Those are the places we
  need to engage as a society because those are the places
  of incredible potential and incredible transformation.”
 DAVID ADJAYE



                                                              After
                                                                                                                         Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 37 of 67 PageID #:2407




62    The Barack Obama Presidential Library: Site Proposals                             The University of Chicago   63
 2   Woodlawn
                                                                                               Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 38 of 67 PageID #:2408




64    The Barack Obama Presidential Library: Site Proposals   The University of Chicago   65
 2      Woodlawn




                                                                  “ The Barack Obama Presidential Library
                                                                    would be a hallmark for health:
                                                                    economic, human, and environmental.”
                                                                   ELIZABETH DILLER, Principal, Diller Scoﬁdio + Renfro




Woodlawn site in Jackson Park looking north
toward the Museum of Science and Industry
                                                                                                                                                Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 39 of 67 PageID #:2409




66        The Barack Obama Presidential Library: Site Proposals                                                The University of Chicago   67
 2   Woodlawn




                                                              “ The Library would be a laboratory, a meeting place,
                                                                a forum for future discourse around culture, politics,
                                                                economics, cities, and global issues. We see it as an
                                                                important place for the generation of knowledge.”
                                                               ELIZABETH DILLER




                                                                                                   Interior view of the Archive, the central
                                                                                                   architectural feature of the building as
                                                                                                   well as its organizing principle
                                                                                                                                               Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 40 of 67 PageID #:2410




68    The Barack Obama Presidential Library: Site Proposals                                           The University of Chicago        69
 2   Woodlawn




                                                              Left: North entrance; Above: Movie screening on the roof
                                                                                                                                                Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 41 of 67 PageID #:2411




70    The Barack Obama Presidential Library: Site Proposals                                                    The University of Chicago   71
 2      Woodlawn




“The Barack Obama Presidential Library could be
 a place where history is accessible to the public but
 also a place that’s providing new futures. It could be
 a place where ideas are stored, produced, and enacted.”
  ELIZABETH DILLER




View of the Barack Obama Presidential Library
from Jackson Park’s Wooded Island
                                                                                                   Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 42 of 67 PageID #:2412




72        The Barack Obama Presidential Library: Site Proposals   The University of Chicago   73
                                                                                                                                                                                                                      Above: View looking northeast from
                                                                                                                                                                                                                      the Presidential Suite over the Jackson
 2      Woodlawn                                                                                                                                                                                                      Park Lagoon, Lake Michigan, and
                                                                                                                                                                                                                      the Museum of Science and Industry




A Library in and of the Park
The studio of Diller Scofidio + Renfro saw the Barack              Inside, at the heart the building, the Archive is envisioned   economic. It would prompt improvement to the park’s             Diller Scofidio + Renfro’s plan for the Library calls for
Obama Presidential Library in Woodlawn as a “great,                as a transparent “Cube of Knowledge,” accessible to all.       green space, golf course, and lagoons. Vegetable and flower     an organically structured urban transformation. Its focus
democratic forum for public gathering and cultural                 Encased by an intelligent skin and networked to a growing      gardens could promote community health and provide              could be health on many scales: human health through
exchange,” said Principal Elizabeth Diller. “It would be           database and robotic browsers, presidential artifacts and      new job opportunities. A farmers market and nurseries as        agriculture and recreation in the park, ecological health
a community center without walls, the embodiment of                documents can be retrieved both physically and virtually       well as basketball courts and other recreational fields could   of the lagoons and surrounding green space, and health
President and Mrs. Obama’s social principles.”                     by the public as well as researchers. Rather than being        serve the neighborhood.                                         of the surrounding community through economic
                                                                   passive receivers of museological information, visitors will                                                                   revitalization along the area’s main arteries.
To capture this vision, the firm designed a building with          be challenged to interact with the Archive’s content as        “We want to make the building of the park,” said
open entrances and walkways. A sequence of small bridges           researchers.                                                   Diller. “We feel that this strategy actually represents the     The Library could become a new anchor in the City of
leads to the unification of communities, inviting visitors                                                                        democratic ideals of this presidency more than a singular       Chicago’s Museum Campus South initiative, looping
to enter and engage with the park and Library campus. A            Located in Jackson Park, the base for the World’s              objectified building. Our project knits together the park       visitors from downtown to the Museum of Science
sloping green roof beginning at ground level doubles as a          Columbian Exposition of 1893, the Woodlawn site today          and the building in such a way that anyone can cross            and Industry and the DuSable Museum. The Obama
pedestrian walkway to higher vistas and outdoor events.            would serve as a base for vitality: physical, social, and      the site, east to west, through the building and over the       Presidential Library would add another world-class
                                                                                                                                  building in a way in which the park is not interrupted, so      cultural institution to the South Side’s amenities.
                                                                                                                                  the building and the park are really one.”
     The full architectural submission is available on the accompanying tablet and at aplaceofpossibility.uchicago.edu.
                                                                                                                                                                                                                                                                Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 43 of 67 PageID #:2413




74         The Barack Obama Presidential Library: Site Proposals                                                                                                                                                         The University of Chicago       75
                                                              2      Woodlawn

                                                                                                                                   WO O D L AW N S I T E


                                                             Revitalizing                                                          20.9
                                                             Woodlawn                                                              acres
                                                             The Woodlawn site offers the opportunity to revitalize a
                                                             neighborhood that in decades past was the center of a thriving
                                                             African American community. It sits in Jackson Park at the
                                                                                                                                   1
                                                             intersection of the Midway Plaisance and the University of            mile from a CTA
                                                             Chicago, Stony Island Avenue, and 63rd Street. The enrichment
                                                             of Jackson Park could charge the urban periphery, triggering
                                                                                                                                   Green Line station
                                                             the residential, commercial, and cultural rejuvenation of the
                                                             community.
                                                                                                                                   0.2
                                                             Jackson Park would surround the Library on three sides with
                                                             Stony Island Avenue completing its border. Development                miles from a Metra
                                                             could occur along this avenue, creating a retail corridor from        Electric station
                                                             the Chicago Skyway to the Library. The large boulevard could
                                                             become home to new restaurants, stores, and a hotel. It could
                                                             be redesigned with cycling lanes and large sidewalks, creating a
                                                             pedestrian-friendly urban hub.                                        36.2 milion
                                                                                                                                   transit trips near
                                                             The 63rd Street corridor west of Jackson Park could also house
                                                             new development. At one point a vibrant commercial area, the          the site per year
                                                             retail spaces are now largely vacant. The University of Chicago
                                                             could play a significant role in encouraging development at this
                                                             site.                                                                 40.1 million
                                                             Situated between the 59th and 63rd Street stops on the Metra          vehicular trips near
                                                             Electric commuter rail line, this location is connected directly to
                                                                                                                                   the site per year
                                                             Millennium Park, one of the region’s prime tourist destinations,
                                                             and the city’s southern suburbs. The Woodlawn site is also
                                                             accessible by two major roadways: Lake Shore Drive and the
                                                             Chicago Skyway, which connects the Dan Ryan Expressway to the         130
                                                             Indiana Tollway.
                                                                                                                                   acres of
                                                             Jackson Park is home to a public 18-hole golf course. Combining       vacant land in
                                                             this course with the nine-hole course at South Shore, a new 27-
                                                             hole course could simultaneously become a golf school, a course
                                                                                                                                   neighborhood
                                                             for local community members, and a world-class golf destination.
                                                                                                                                                           Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 44 of 67 PageID #:2414




76   The Barack Obama Presidential Library: Site Proposals                                                                                         77
 2   Woodlawn                                                 Stony Island Avenue Today
                                                                                                             Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 45 of 67 PageID #:2415




78    The Barack Obama Presidential Library: Site Proposals                 The University of Chicago   79
 2   Woodlawn                                                 A Vision for Stony Island Avenue



                                                  Before




                                                  After
                                                                                                                   Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 46 of 67 PageID #:2416




80    The Barack Obama Presidential Library: Site Proposals                       The University of Chicago   81
3    South Shore
                                                                                               Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 47 of 67 PageID #:2417




82    The Barack Obama Presidential Library: Site Proposals   The University of Chicago   83
 3     South Shore




“ We designed the building as an instrument for
  charting the future. As the next generation comes
  in—the generation that is going to change the
  world—this Library has a chance to change them,
  too, and continue to generate that change.”
 JEANNE GANG, Principal, Studio Gang Architects
                                                                View of the South Shore site looking
                                                                southwest from Lake Michigan
                                                                                                       Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 48 of 67 PageID #:2418




84      The Barack Obama Presidential Library: Site Proposals     The University of Chicago      85
                                                                    A central skylit space visually
                                                                    connects to each program
 3    South Shore                                                   component and the outdoors,
                                                                    offering the visitor freedom to
                                                                    choose his or her own experience.




“We thought of a building that was very
 welcoming and open, like going into
 a big tent, big enough for everyone and
 where everyone is welcome inside.”
 JEANNE GANG
                                                                                                        Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 49 of 67 PageID #:2419




 86    The Barack Obama Presidential Library: Site Proposals   The University of Chicago     87
        South Shore
                                                                  “If you have a garden and a library,
 3
                                                                   you have everything you need.”
                                                                   CICERO




Clockwise from top left: View looking north from South
Shore Beach; urban agriculture; indoor basketball court;
National Archives and Records Administration archive
                                                                                                                                    Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 50 of 67 PageID #:2420




88        The Barack Obama Presidential Library: Site Proposals                                    The University of Chicago   89
             South Shore
                                                                 “While activities of the President and First Lady
      3
                                                                  will happen all over the world, this place will be
                                                                  the center of their energy that will resonate with
                                                                  generations to come.”
                                                                  JEANNE GANG




     View from Lake Michigan of the Barack
     Obama Presidential Library and the
     South Shore Cultural Center
                                                                                                                                        Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 51 of 67 PageID #:2421




90       The Barack Obama Presidential Library: Site Proposals                                         The University of Chicago   91
                                                                   3       South Shore




                                                                  An Instrument for
                                                                  Charting the Future
                                                                  Architect Jeanne Gang imagines the Library in South            A large onsite urban farm could represent the core values
                                                                  Shore as a compass, pointing in all directions, uniting        of health and fitness that Michelle Obama champions.
                                                                  and extending this South Side community. “From                 Space for outdoor demonstrations by farmers and chefs
                                                                  inside the building you can choose your destination,”          would allow the farm to become a destination itself.
                                                                  said Gang. “East, west, north, or south, local or global,      Community service days could take place there during
                                                                  virtual or real—all are possibilities. We hope the Obama       planting and harvest times. The former stables along 71st
                                                                  Presidential Library will become synonymous with               Street could become a farmers market where local farmers
                                                                  possibility, with exploring ideas, continued learning,         would sell produce while adding to the retail offerings in
                                                                  community service, and action.”                                the area.

                                                                  Located on the shore of Lake Michigan, the Library would       “This is an instrument for charting the future,” said Gang.
                                                                  provide a vista to downtown Chicago. But more than             “The generation that is changing the world could be
                                                                  visual, “this site links to historic moments,” said Gang,      changed by the Barack Obama Presidential Library.”
                                                                  whose firm Studio Gang Architects designed the site near
                                                                  the South Shore Cultural Center. “People could learn
                                                                  more about what happened right here in the civil rights
                                                                  and labor movements. Much of the history of the South
                                                                  Side could be tied to events in President Obama’s career.”

                                                                  Upon arrival at the site, visitors would enter a building
                                                                  designed to open on the cardinal directions, giving the
                                                                  architecture a tent-like feel—open and airy, an invitation
                                                                  into the Library’s indoor and outdoor interactive museum
                                                                  exhibits, social spaces, and recreational features.

                                                                  Programming at the Library could complement existing
                                                                  community offerings at the South Shore Cultural Center.
                                                                  As in Jackson Park, the golf course on the site could be
                                                                  redeveloped. Other opportunities for recreation that could
                                                                  be provided by the Library include an indoor basketball
                                                                  court and large auditorium. Near the beach, a recreational
                                                                  zone of ball fields and courts, a youth golf school, and a
                                                                  fitness trail could be developed. The Lakefront Trail could
                                                                  be extended farther south, connecting the Grand Illinois
Above: View from golf course addition;                            Trail to America’s Great Outdoors Initiative.
Below: Presidential Suite

                                                                       The full architectural submission is available on the accompanying tablet and at aplaceofpossibility.uchicago.edu.
                                                                                                                                                                                               Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 52 of 67 PageID #:2422




92        The Barack Obama Presidential Library: Site Proposals                                                                                         The University of Chicago       93
                                                              3       South Shore


                                                                                                                              SOUTH SHORE SITE

                                                             Reinvesting
                                                             in South Shore                                                   28.7
                                                                                                                              acres
                                                             Set at the South Shore Cultural Center, the Barack Obama
                                                             Presidential Library would join the large beachfront property
                                                             that is home to the Cultural Center, a golf course, a beach,
                                                             and a nature sanctuary. It would be located on the northeast
                                                                                                                              3
                                                             corner of the park site, adjacent to Lake Michigan.              miles from a CTA
                                                             This area is more developed than the Washington Park site,
                                                                                                                              Green Line station
                                                             though a large share of that development is residential. The
                                                             business community in South Shore is about twice that near
                                                             Washington Park, with a medium-sized retail industry and         0.1
                                                             a small food industry on 71st Street. Given the influx of
                                                             new demand the Library would generate, a prime spot for          mile from a Metra
                                                             new development would be the corridor of 71st Street that        Electric station
                                                             extends about a mile west of South Shore Drive.

                                                             South Shore is less convenient in terms of public transit than
                                                             Washington Park or Woodlawn. The South Shore stop on             20.5 million
                                                             the Metra Electric line is a block away from the entrance        transit trips near
                                                             of the Cultural Center. A bus or trolley system would be
                                                             needed to shuttle visitors from the stop to the Library.         the site per year
                                                             While the location is accessible by Lake Shore Drive and the
                                                             Chicago Skyway, the entrance to the site is a hairpin turn in
                                                             need of redesign.                                                21.7 million
                                                             Unlike at the other two sites, economic growth in the area       vehicular trips near
                                                             would appear largely as redevelopment of residential or
                                                                                                                              the site per year
                                                             commercial areas into a form that could more ably serve
                                                             the visitors to the Obama Presidential Library. Of the three
                                                             locations, the economic impact of the Library would be least
                                                             in South Shore.                                                  35
                                                                                                                              acres of
                                                                                                                              vacant land in
                                                                                                                              neighborhood
                                                                                                                                                   Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 53 of 67 PageID #:2423




94   The Barack Obama Presidential Library: Site Proposals                                                                                 95
 3   South Shore                                             71st Street Today
                                                                                                   Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 54 of 67 PageID #:2424




96   The Barack Obama Presidential Library: Site Proposals        The University of Chicago   97
 3   South Shore                                                             A Vision for 71st Street

                                                              “ A building that has a strong purpose in a
                                                                community can transform a neighborhood.”
                                                               JEANNE GANG
                                                                                                                          Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 55 of 67 PageID #:2425




98    The Barack Obama Presidential Library: Site Proposals                              The University of Chicago   99
                     CHAPTER FOUR
                     I M PAC T




                     Measuring
                     Possibility
                     In many ways, the impact of the Barack Obama Presidential
                     Library—in energizing community groups, sparking
                     collaborations, and inspiring young people—cannot
                     be measured. But the potential impact on economic
                     opportunity—in jobs, new businesses, and the revitalization
                     of South Side neighborhoods—can be projected.

                     The University of Chicago engaged consultants to
                     assess the economic impact of the Library, the potential
                     for a revitalized golf course, and the possibility for the
                     Library on one of the three sites to become a model for
                     sustainable development. These specialists documented
                     the opportunities that the Library would create in the
                     city of Chicago and particularly on the South Side. If a
                     site on the South Side is ultimately selected, the Library
                     will bring signiﬁcant beneﬁts to an area of the city that
                     has both enormous need and the desire and community
                     infrastructure to take full advantage of these opportunities.




A student celebrates the UChicago tradition
of Kuviasungnerk/Kangeiko, named from the
Inuit word for “pursuit of happiness” and the
Japanese word for the samurai tradition of
winter training.
                                                                                                                       Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 56 of 67 PageID #:2426




100        The Barack Obama Presidential Library: Impact                             The University of Chicago   101
                                                                                                                                P R OJ E C TE D I M PAC T
Catalyzing Economic
Growth and Opportunity                                                                                                          1,900
                                                                                                                                permanent new
Anderson Economic Group studied both the short-                    This economic activity would be felt most powerfully         jobs
term impact of construction and the ongoing impact of              in the South Side neighborhoods surrounding the three
Library operations and visitors. Their numbers should be           proposed sites. Visitor spending would lead to increased
considered a baseline due to conservative methodology.             demand, supporting more than 40 new restaurants and
Anderson considers only net new economic activity—that             retail establishments and at least one new hotel. “The       3,280
which would not otherwise occur. Anderson looked to                amount of spending will be even higher,” Anderson writes,    local construction
previous presidential libraries as well as other cultural          “if people choose to stay in the neighborhood around
attractions to estimate the number of visitors to the              the Obama Presidential Library for a larger share of their   jobs
Barack Obama Presidential Library. Given the historic              visit.” Partnerships and joint programs with other South
nature of this presidency and the 1.4 million visitors to the      Side institutions will help entice people to expand their
nearby Museum of Science and Industry, the number of               visits.
visitors to the Library could be even greater than the firm
                                                                                                                                $220 million
estimates.                                                         Anderson notes that other private development or             annual economic
                                                                   infrastructure improvements that complement the Obama
Anderson finds that the Barack Obama Presidential                  Presidential Library may lead to “even greater and more
                                                                                                                                impact
Library would have a significant economic impact on                localized economic impact.” The City has expressed its
Chicago and particularly on the South Side. Anderson               commitment to supporting the Library, and it is the
anticipates 800,000 visitors to the Library each year, with        University’s expectation that public-private partnerships    $56 million
nearly half coming from outside the city. These visitors           would be formed to ensure the communities surrounding
would spend money on food, lodging, parking, and                   the Library would reap the greatest possible economic
                                                                                                                                annual increase in
retail shopping, growing the existing local businesses and         benefits.                                                    local earnings
attracting new ones. In addition, the Library would spend
some of its operating funds locally on employees, supplies,
and services.
                                                                                                                                $600
The bottom line: 1,900 new, permanent jobs and $220                                                                             million construction
million in total economic impact to the City of Chicago
each year. Tax revenues for the City and the Chicago                                                                            economic impact
Public Schools would grow by $5 million annually. In                                                                            on the city
addition, the construction of the Library would create
nearly 3,300 local jobs for the duration of the project
                                                                   Above right: Patrons eating outdoors at Chant
and would result in a one-time $600 million boost to the
                                                                   restaurant on 53rd Street; Below right: Event at the
City’s economic activity.                                          Arts Incubator on Garﬁeld Boulevard
                                                                                                                                41
                                                                                                                                new restaurants
                                                                                                                                and retail
                                                                                                                                establishments

      The full report is available on the accompanying tablet and at aplaceofpossibility.uchicago.edu.
                                                                                                                                                     Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 57 of 67 PageID #:2427




102        The Barack Obama Presidential Library: Site Proposals                                                                              103
Golf: A Community
and Cultural Resource
As part of the Barack Obama Presidential Library project,      Doak’s proposal envisions improved local practice
the golf courses at Jackson Park and the South Shore           facilities, a golf school with programs for area youth, and
Cultural Center could be combined and revitalized to           a clubhouse for local golfers. Local students could work
create a world-class facility that would attract visitors      as caddies and become eligible for a national scholarship
and become a stronger asset for local golfers and young        program, the Evans Scholars. Revenue from golfers
people learning the game. This long-standing recreational      visiting the course could help keep greens fees low for
resource on the South Side has the potential to create         community members.
additional economic growth.
                                                               “Combining the Jackson Park and South Shore facilities
Three proposals for reconfiguring the existing courses         would create an iconic golf course for part-time use and
were developed by Tom Doak, one of the top golf                for tournament play,” Doak writes. “With golf holes
course designers. Both courses are Chicago Park District       along the lakefront, views across the water to the Chicago
properties, though they are currently operated separately.     skyline, and views of the new Obama Presidential Library,
Each has significant limitations that could be addressed       the composite facility would be a great asset to the city of
by a redesign. Doak imagines uniting the two courses           Chicago—a truly world-class, downtown golf course, with
into one superior course capable of hosting professional       no equal in other American cities.”
tournaments and becoming a much utilized asset for the
community.

Anderson Economic Group notes that “an improved golf
course would undoubtedly result in a significant economic
boost to the area, particularly if the site is able to host
globally competitive tournaments.” Based on economic
impact studies of other tournaments, Anderson estimates
the total impact of a major golf tournament in Chicago
would be in the tens of millions of dollars.                     Right: Jackson Park Golf Course




      The full report is available on the accompanying tablet and at aplaceofpossibility.uchicago.edu.
                                                                                                                                                                Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 58 of 67 PageID #:2428




104        The Barack Obama Presidential Library: Impact                                                                      The University of Chicago   105
A Comprehensive
Environmental
Approach
The Barack Obama Presidential Library on the South
Side of Chicago will be a responsible steward of the
environment. It will utilize best practices in energy-
efficient building, incorporating sustainability into its
construction and operations. A sustainable design also
will create opportunities for youth programming.

Transsolar Inc., a world-renowned energy consulting
firm, evaluated the proposed sites. It found green
solutions for each, and its recommendations informed
the work of the architects. Chicago has plenty of
sunlight coming from the south even in the winter,
making it a good location for passive solar design.
The building and site design could be arranged to use
winds for natural cross-ventilation much of the year,
conserving energy. Ceiling fans would improve air
movement during warmer periods, while the passive
solar energy gained during the day would provide
warmth during cooler periods.

Since archival storage spaces require a stable, cool,
and dry indoor environment, they could be located
behind opaque walls and insulation, or in a basement
or partial basement. Chicago’s soil temperature makes
underground storage a promising option. Below-grade
construction would also enable a ground source heat
pump or direct ground thermal exchange systems.

All three sites provide some opportunity for urban
agriculture, alternative storm water management,
alternative water treatment (such as constructed
wetlands), or location of energy sources in the park.
In addition to serving the Library, these systems can
also provide opportunities for partnerships with local
institutions and diverse educational programming for
students.
                                                            Aerial view of the Reva and David
      The full report is available on the accompanying      Logan Center for the Arts with
      tablet and at aplaceofpossibility.uchicago.edu.       green rooﬁng and solar panels
                                                                                                Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 59 of 67 PageID #:2429




106         The Barack Obama Presidential Library: Impact   The University of Chicago     107
“This city and this community will be judged
 not just by the beauty of our parks and lake
 front, or the vitality of our businesses, but
 by our commitment to our next generation.”
 FIRST LADY MICHELLE OBAMA




                                                        Students play outside at Earl Shapiro Hall, the
                                                        University of Chicago Laboratory Schools’ new,
                                                        state-of-the-art building on Stony Island Avenue.
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 108    The Barack Obama Presidential Library: Impact                 The University of Chicago     109
              CHAPTER FIVE
              CONCLUSION




              An Urban
              Inspiration
              The University of Chicago and the communities of
              Chicago’s South Side are excited about the possibilities
              created by the Barack Obama Presidential Library.
              Certainly the Library will be a rich source of content,
              housing the archives of a historic president, providing an
              important resource for scholars, and hosting programming
              for local residents and visitors from around the world.
              More than that, it will be an inspiration to generations
              of young people. In addition to direct economic impact,
              the Library has the ability to transform the lives of urban
              residents both here and around the world. They will draw
              from its existence and its many programs a sense of hope
              and empowerment—the conviction that the doors of
              opportunity are open to them. This will be the Library’s
              lasting legacy.




UChicago student during a Martin
Luther King Jr. Day celebration
                                                                                                              Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 61 of 67 PageID #:2431




110       The Barack Obama Presidential Library: Conclusion                 The University of Chicago   111
                                                          FROM THE PRESIDENT OF THE UNIVERSIT Y OF CHICAGO
                                                          ROBERT J. ZIMMER



                                                          To the Barack Obama Foundation,

                                                          The University of Chicago, together with a broad network of civic institutions and community leaders, is eager to partner
                                                          with the Barack Obama Foundation to bring the Barack Obama Presidential Library to the heart of the South Side of
                                                          Chicago.

                                                          The Obama Presidential Library will mark a watershed moment for the South Side, catalyzing significant and sustained
                                                          economic opportunity in an area poised to make the most of such promise. It will bring cultural and programmatic
                                                          opportunities for all of Chicago’s residents and for visitors from around the world. The programs that the Library pursues
                                                          will have a powerful impact on some of the most critical challenges facing residents of cities across the globe. And as we
                                                          continue to hear from the young people in our neighborhood schools and programs, the Obama Presidential Library at the
                                                          heart of the South Side will provide inspiration.

                                                          Just as the Library will invigorate its community, the home of the Library will shape that institution in important ways.
                                                          Practically speaking, location will determine who has access to the Library. From a symbolic point of view, the site
                                                          can help tell the story of the President and First Lady, and their lifelong commitment to improving the lives of others,
                                                          especially young people. Beyond geography, choosing a location means choosing one’s neighbors—and selecting the South
                                                          Side of Chicago will assure the Library the engagement of a wide coalition of neighbors who have a proven track record of
                                                          support for and belief in President and Mrs. Obama and the issues they care most about.

                                                          Every day we hear from neighbors who are enthusiastic about the Obama Presidential Library on the South Side. From the
                                                          respected leaders on our Community Advisory Board to the individuals who call or write to ask how they can help, these
                                                          partners are at the core of our proposal. They are joined in this collaborative effort by universities, cultural organizations,
                                                          civic anchors, and community groups throughout the Chicago area and beyond. We are supporting this coalition with
                                                          three site proposals by some of the nation’s most innovative architects. We also bring the University of Chicago’s expertise
                                                          and experience in bringing complex and ambitious projects to fruition, as well as the University’s global outlook and
                                                          engagement.

                                                          Together we believe these elements offer the possibility of a Barack Obama Presidential Library that is authentic, inspiring,
                                                          and transformative. We would like to work with you to make that possibility a reality.

                                                          Sincerely,




                                                          Robert J. Zimmer
                                                                                                                                                                                            Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 62 of 67 PageID #:2432




112   The Barack Obama Presidential Library: Conclusion                                                                                              The University of Chicago       113
FROM THE U NIVE RSIT Y OF CHICAGO COMM U NIT Y ADVISORY BOARD
FOR THE BAR ACK OBAMA PRESIDE NTIAL LIBR ARY



                                To the Barack Obama Foundation:                                                         Our Community Advisory Board colleague David Mosena captures this idea in
                                                                                                                        talking about how the South Side will anchor the Obama Presidential Library “in the
                                We write to you collectively as members of the University of Chicago Community          needs of our city and our country, giving it a reality base.” Putting the Library here,
                                Advisory Board for the Barack Obama Presidential Library and individually as            David says, “would ground it in the President’s and First Lady’s history, their roots,
                                people who have lived and worked on the South Side and devoted much of our lives        their life, their passions. I know they care about the community, and I know they
                                and careers to this vibrant community. We are united in our strong and profoundly       care about the kids.”
                                deep belief that the Barack Obama Presidential Library belongs here and only here.
                                                                                                                        Ours is a community brimming with history, but, even today, even with our
                                This is where Barack and Michelle Obama began their journey to the White                challenges, it is rich and vibrant. Our colleague Dr. Carol Adams describes it as “a
                                House—embraced and lifted up by friends and neighbors whose spirited support            cauldron of social, economic, and industrial activity, a community of people who are
                                was the emotional fuel for their historic campaign. This community is what our          change agents.” Here, we nurture creativity, energy, and trajectories, with none more
                                colleague Timuel Black describes as “the nurturing ground for that adventure” that      dramatic than that of President and Mrs. Obama.
                                took the Obamas from their house at 5046 South Greenwood Avenue in South
                                Kenwood to the White House at 1600 Pennsylvania Avenue NW in Washington,                Respectfully yours,
                                DC.

                                The Obama Presidential Library in the heart of Chicago’s South Side would be
                                a game-changer that would also impact the future of urban communities across
                                America. The potential economic impact is tremendous. This will be an urban             Carol L. Adams                             Timuel Black                                   Byron T. Brazier
                                presidential library, catalyzing job creation and physical improvements to the South
                                Side. It will spur innovation in social policy. It will be a repository of knowledge
                                to guide deeper understanding of this historic presidency. These and the many
                                other tangible benefits are important. But, in our view, none surpasses the Library’s
                                incalculable value as a beacon of inspiration to young people. Our support is rooted
                                in what this would mean not only for us but for our children, grandchildren, and        Michelle L. Collins                        Guy Comer                                      Walter E. Massey
                                generations to follow.

                                But let us not focus only on what the Obama Presidential Library would mean to
                                the South Side. Let us also extol what our community—rich in culture, politics,
                                the arts, and education—will mean to the Library. The South Side is already home
                                to the DuSable Museum of African American History, the Museum of Science and            David R. Mosena                            Shirley J. Newsome                             Terry Peterson
                                Industry, Frank Lloyd Wright’s Robie House, the Oriental Institute Museum, the
                                Smart Museum, racial and cultural diversity, community activism, literary richness,
                                and all that jazz. Could there be any other community in America that would
                                welcome the Library more, embrace it more, care for it more, or inspire it more?


                                                                                                                        Jim Reynolds, Jr.                          David J. Vitale                                Andrea Zopp
                                                                                                                                                                                                                                                       Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 63 of 67 PageID #:2433




114   The Barack Obama Presidential Library: Conclusion                                                                                                                                                              The University of Chicago   115
                                                          FROM LEADERSHIP IN SUPPORT OF
                                                          THE BAR ACK OBAMA PRESIDE NTIAL LIBR ARY


                                                          To the Barack Obama Foundation:

                                                          As engaged citizens and Trustees of the University of Chicago, we are enthusiastic about the possibility of the Barack
                                                          Obama Presidential Library in the heart of Chicago’s South Side. We see the enormous potential of this endeavor to
                                                          teach and inspire young people and encourage them to reach their fullest potential. We are excited by both the symbolic
                                                          and convening power that the Obama Presidential Library will represent. It will stand for the principle of what can be
                                                          achieved in America with focus and determination. Its programs can inform the community, inspire citizenship, expand
                                                          opportunity, and promote peace.

                                                          The Obama Presidential Library will be a powerful tribute to the values and accomplishments of the President and Mrs.
                                                          Obama’s public service, while serving as a catalyst for positive change locally, nationally, and globally. The South Side
                                                          location for the Library will stimulate economic and community development, be broadly accessible, and inspire countless
                                                          children and their families about the possibilities of positive change.

                                                          The University of Chicago is an ideal partner for the Obama Presidential Library. The University has extraordinary
                                                          cultural and intellectual resources and plays an important role in the community of scholars. At the same time, it has a
                                                          deep and continuing commitment to improving the lives of those in the nearby community, as well as those around the
                                                          world. In recent years, the University has devoted substantial resources to supporting and improving the South Side of
                                                          Chicago, and helping some of Chicago’s most vulnerable residents. The presence of the Obama Presidential Library would
                                                          amplify and accelerate the many positive trends that have characterized the past decade.

                                                          We believe this is a singular opportunity for the South Side of Chicago. We pledge our support in making the most
                                                          ambitious dreams for this project a reality.

                                                          Sincerely,




                                                          James S. Crown                          John W. Rogers, Jr.                         David M. Rubenstein
                                                                                                                                                                                      Case: 1:18-cv-03424 Document #: 85-12 Filed: 02/05/19 Page 64 of 67 PageID #:2434




116   The Barack Obama Presidential Library: Conclusion                                                                                         The University of Chicago      117
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118   The Barack Obama Presidential Library
“Chicago, Chicago. 
 You couldn’t do it anywhere else.”

 WILLIAM RAINEY HARPER, First president of the University of Chicago
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